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                     UNITED STATES BANKRUPTCY COURT

                                 DISTRICT OF IDAHO


 In Re:
                                                  Bankruptcy Case
  TITLE PIPE, INC.,                               No. 22-00328-JMM

                                Debtor.           Chapter 11, Subchapter V



            NOTICE OF TELEPHONIC HEARING (CHAPTER 11,
          SUBCHAPTER V STATUS CONFERENCE), AND ORDER
________________________________________________________________________



       On July 26, 2022, Title Pipe, Inc. (“Debtor”) filed a petition under chapter 11,

subchapter V of the Bankruptcy Code. Doc. No. 1.

       Therefore, pursuant to 11 U.S.C. § 1188:

       NOTICE IS HEREBY GIVEN that a telephonic status conference is scheduled for

Wednesday, September 7, 2022, at 10:00 a.m. Mountain time. The parties shall call

into the number below at least ten (10) minutes prior to the start of the hearing. The

courtroom deputy will take roll, after which your phone should be placed on mute until

your case is called. Once you are finished with your case, you may hang up.

       The conference call information is as follows:

       Judge Meier’s Conference Number: 1-669-254-5252

       Access Code: 160 093 0120

       Further:


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      IT IS HEREBY ORDERED that:

      1. Debtor shall file a pre-status conference report as required by 11 U.S.C.

         § 1188(c) no later than August 24, 2022.

      2. At the September 7, 2022 status conference, Debtor shall be prepared to

         address, at a minimum, the following issues:

            a. The efforts Debtor has taken and will undertake to attain a consensual
               plan of reorganization.
            b. Whether Debtor anticipates a “cramdown” of any secured interest(s).
            c. The time period Debtor anticipates it will commit to pay its disposable
               income to creditors under a plan.
            d. The estimated amount of disposable income Debtor anticipates it will
               distribute to creditors over the life of the plan and the source of such
               income.
            e. The results of Debtor’s liquidation analysis.
            f. Whether Debtor believes it will file a plan within 90 days as required by
               11 U.S.C. § 1189(b).
            g. Whether Debtor believes this is a case that will require a separate
               disclosure statement.
            h. A possible date, location, and time when the confirmation hearing will
               be held.
            i. A date to be fixed as the last day claim holders may accept or reject the
               plan. Unless otherwise agreed at the status conference, the date shall be
               7 days prior to the confirmation hearing.
            j. A date to be fixed as the last day for filing and serving written
               objections to confirmation of the plan. Unless otherwise agreed at the
               status conference, the date shall be 7 days prior to the confirmation
               hearing.

      3. Within 7 days of filing the plan, Debtor shall submit to the Court a proposed

         order and notice of confirmation hearing which complies with LBR 3018.1 and

         establishes the confirmation hearing date, location, and time; the last day to



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            object to the plan; and the last day to submit ballots consistent with the

            discussions held during the status conference. Such proposed order/notice

            must be approved as to form by the subchapter V Trustee, the United States

            Trustee, and any other party the Court may specify during the status

            conference.

      4. Within 3 days of the Court entering the order/notice referenced in paragraph 3,

            or within a different time period if established at the status conference and

            referenced in the order/notice, Debtor shall serve such order/notice, a copy of

            the plan, and a ballot 1 on all parties in interest, the United States Trustee, and

            the subchapter V Trustee and file a certificate in the record reflecting such

            service.



                                         DATED: July 28, 2022



                                         ________________________
                                         JOSEPH M. MEIER
                                         CHIEF U. S. BANKRUPTCY JUDGE




      1
          All ballots mailed with the plan shall conform to official Form 314.


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